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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

MICHAEL R. STUDARD                                                                    PETITIONER

v.                                                                         No. 3:21CV195-NBB-RP

MARSHALL COUNTY SHERIFF’S DEPT.                                                     RESPONDENT


                       ORDER GRANTING PETITIONER’S MOTION
                            FOR VOLUNTARY DISMISSAL

       This matter comes before the court on the motion by the petitioner to voluntarily dismiss the

instant petition for a writ of habeas corpus under 28 U.S.C. § 2254. As the State has not responded

to the petition, the motion is GRANTED. The instant petition for a writ of habeas corpus is

therefore DISMISSED without prejudice.

       SO ORDERED, this, the 6th day of October, 2021.



                                                       /s/ Neal Biggers
                                                      NEAL B. BIGGERS
                                                      SENIOR U. S. DISTRICT JUDGE
